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            IN THE UNITED STATES DISTRICT COURT FOR THE
             WESTERN DISTRICT OF TENNESSEE AT JACKSON
 ________________________________________________________________________

 MELVIN HARRIS, ELESE HARRIS
 and BERNICE EDWARDS,

                          Plaintiffs,

 vs.                                             NO: ________________________
                                                 JURY DEMANDED

 ALLSTATE PROPERTY and
 CASUALTY INSURANCE CO.,

                   Defendant.
 ________________________________________________________________________

                NOTICE FOR REMOVAL OF CIVIL ACTION
 ________________________________________________________________________

 TO THE HONORABLE JUDGES OF THE U. S. DISTRICT COURT FOR THE
 WESTERN DISTRICT OF TENNESSEE AT JACKSON:

          COMES NOW Allstate Property and Casualty Insurance Company, by its

 undersigned attorneys, and respectfully shows this Court as follows:

       1. Petitioner is a defendant in the above and entitled action.

       2. On December 29, 2010 Plaintiffs, Melvin Harris, Elese Harris and Bernice

 Edwards, commenced the above entitled action against the Defendant, Allstate Property

 and Casualty Insurance Company in the Circuit Court of Madison County, Tennessee.

 Attached hereto as Exhibit A is a copy of the Complaint, and Service of Process.

       3. There have been no proceedings since the filing of the Complaint.

       4. The amount in controversy in the above entitled action, exclusive of interest and

 cost, exceeds $75,000.00. At the time of the commencement of this action, and at the
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 time of the filing of this Petition, Plaintiffs alleges that they are citizens of the State of

 Tennessee, residing in Madison County.

    5. At the time of commencement of this action and the filing of this Petition,

 Petitioner, Allstate Property and Casualty Insurance Company, is a corporation, duly

 incorporated, and authorized to do business in the State of Tennessee and has its principal

 place of business in Northbrook, Illinois.

    6. The above entitled action is a civil action for insurance proceeds brought by

 Melvin Harris, Elese Harris and Bernice Edwards against Allstate Property and Casualty

 Insurance Company. This claim is a result of a fire loss, which occurred on or about

 January 10, 2010 in Madison County, Tennessee, as more fully appears in the Complaint

 attached hereto.

    7. This Court has original jurisdiction of the above entitled action pursuant to 28

 U.S.C. §1332 since diversity of citizenship exists between the parties, and since

 Petitioner, Allstate Property and Casualty Insurance Company, is not a citizen or a

 resident of the State of Tennessee, wherein the above entitled action is pending, removal

 of this action to this Court is proper pursuant to 28 U.S.C. §1441 (a), (b).

    8. This petition is filed with this court within thirty (30) days after receipt of the

 summons and Complaint filed by the Plaintiffs. Allstate was served through C.T.

 Corporation by Process Server on January 19, 2011.

        WHEREFORE, PETITIONER PRAYS, that the above entitled action be removed

 from the Circuit Court of Madison County, Tennessee to this Court and that Allstate

 Property and Casualty Insurance Company be afforded a trial by jury.
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                                     Respectfully submitted,

                                     WALDROP, BARNETT, LAZAROV & NEARN, P.C.




                                     s/ David M. Waldrop
                                     David M. Waldrop #13079
                                     Attorney for Allstate Indemnity Company
                                     9032 Stone Walk Place
                                     Germantown, Tennessee 38138
                                     (901) 759-3489




                                 CERTIFICATE OF SERVICE

       This certifies that a copy of the foregoing has been served upon Nathan B. Pride,
 423 North Highland Avenue, Jackson, TN 38301, by placing a copy of the same in the
 U.S. Mail, postage prepaid, this 9th day of February, 2011.


                                     s/ David M. Waldrop
                                     David M. Waldrop
